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                              LINITED STATES DISTRICT COURT
                                    DISTRICT OF IDAHO

                                      Electronicallv Filed

FRANK CHIDICHIMO" MARY NOEL
LITTLE, MI'RK CHIDICHIMO,
WILLIAM CIHRISTOPHER                                Civil Action No.
CHIDICHIMTO. KATHLEEN ANN
TOUCHETTE. NANCY THERESE
MIDDLE.TON, MATTHEW EDWARD
CHIDICHIMIO, and THE ESTATE OF                      CIVI     COMPLAINT
LILA MAE CHIDICHIMO, MARY
NOEL LITTLE, PERSONAL
REPRESEN'|ATIVE.

                                   Plaintiffs,




UNITED STATES OF AMERICA,

                                  Defendant.

Serve:

Hon. Jeff Sessions
Attorney General of the United States
U.S. Departrnent of Justice
950 Pennsyl'vania Avenue, NW
Washington D.C. 20530-000 1

And

Hon. Bart M. Davis
United States Attorney
Washington Group IV
800 Park Bl''rd., Suite 600
Boise, Idaho 83712
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       COMII NOW the plaintiffs, Frank Chidichimo. Mary Noel Little, Mark Chidichimo,

William Christopher Chidichimo, Kathleen Ann Touchette, Nancy Theresa Middleton, Matthew

Edward Chidi,chimo, and the Estate of Lila Mae Chidichimo, Deceased, by counsel, and for their

Complaint and cause of action against the Defendant, United States of America (hereinafter

"USA"),   staters as   follows:

                                         JURISDICTION

       1.       This action arises under the Federal Torts Claims Act, 28 U.S.C., Sections

1346(b) and267l-2680, and this Courl has original jurisdiction over the proceeding against the

defendant.   USA. Plaintiffs suffered injuries   and damages as a result of the negligence of an

employee of tlhe United States Government Postal Service, while said employee was acting

within the couLrse and scope of her employment, The USA, if       a   private person, would be liable to

plaintiff in accordance with the laws of the State of Idaho through the doctrine of respondeat

superior and other applicable law. The United States of America is the proper defendant

pursuant to 2ti U.S.C., Sections 2674 and2679.

        2.       Service of Process may be perfected by serving a copy of the complaint and

summons to tlhe United States Attorney for the District of Idaho and forwarding a copy of same

by certified m.ail, return receipt requested, to the Office of the Attorney General of the United

States, Hon. Jeff Sessions. Service is made on defendant, United States of America. pursuant to

Rule a(i)(1) of the Federal Rules of Civil Procedure.

                                                 VENUE

        3.       Plaintiff, Frank Chidichimo, is a citizen of and a resident of Twin Falls, Twin

Falls County, ldaho, in the District of Idaho, and at all times relevant herein resided and
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continues to reside in saidiudicial district, and the acts and omissions complained of herein

occurred in said judicial district. Venue is proper in the District of Idaho pursuant to 28 U.S.C.

Section 1402(b).

                                              FACTS

       4.      On the morning of October 19.2016, at approximately 10:54 a.m., Cindy Crum

was operating a United States Postal Service mail delivery truck on Rea Circle in the city   of

Twin Falls, T,rrin Falls County, ldaho. Ms. Crum was delivering mail to the residents of Rea

Circle and at said time and place was acting within the course and scope of her employment as a

mail carrier fc,r the United States Postal Service, an agency of the defendant United States of

America.

        5.     At said time and place, decedent Lila Mae Chidichimo resided with her husband,

Frank Chidichimo , at 238 Rea Circle, Twin Falls, Idaho.

        6.     The mailbox for Lila and Frank Chidichimo was one of several free-standing

mailboxes located across the street from their home at238 Rea Circle, Twin Falls, Idaho.

        7.     Cindy Crum had completed her mail delivery and driven her delivery truck

forward away from the mailboxes. Lila Chidichimo walked from her yard and across Rea Circle

road to pick-up her mail at the mailbox.   Lila Chidichimo was standing at her mailbox when the

truck operated by Cindy Crum abruptly, and without warning, reversed into her, knocking Lila

Chidichimo to the ground causing her head to hit the pavement which resulted in injuries that

caused her death on November 26.2016.

        8.     Cindy Crum, while acting within the course and scope of her employment as an

employee of the United States of America, negligently and carelessly operated her motor vehicle
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so as to cause    it to collide with and strike Lila Chidichimo while she was lawfully standing at her

mailbox, and thereby failed to yield the right of way to the decedent, failed to exercise due care

to avoid collidling with the decedent, failed to keep a proper lookout while backing a vehicle in

violation of   I.{3.   $ 49-604, failed to pay attention to the roadway behind her, failed to operate her

vehicle in a caLreful manner, and failed to keep control of her vehicle so as to avoid a collision

with   a pedestrian.


         9.        Under these facts and circumstances and under the laws of the State of Idaho. the

person responsible for the operation of a motor vehicle in the manner described herein,         if   she


were a private person, would be liable to the heirs of the decedent Lila Chidichimo for their

damages resulting from the         collision as set forth in Idaho Code $ 5-31 l. The heirs include the

following:

                   Frank Chidichimo - Spouse
                   238 Rea Circle
                   Twin Falls, Idaho 83301-0109

                   Mary Noel Little - Daughter
                   238 Rea Circle
                   Twin Falls. Idaho 83301-0109

                       Mark Chidichimo - Son
                       7 Schenck Ave.
                       Matawan, New Jersey 07747

                       William Christopher Chidichimo - Son
                       PSC 76
                       Box 6238
                       APO, AP 96319-0041

                       Kathleen Ann Touchette - Daughter
                       1525 Richmond Dr.
                       Twin Falls, Idaho 83301
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                 Nancy Therese Middleton - Daughter
                 4419 W. Jewell St.
                 Boise. Idaho 83706

                 Matthew Edward Chidichimo - Daughter
                 10529 W. Shadybrook Dr.
                 Boise, Idaho 83704

                 Estate ofLila Mae Chidichimo
                 Mary Noel Little, Personal Representative
                 238 Rea Circle
                 Twin Falls. Idaho 83301-0109

        10.      At the date and time of this collision, the United States of America, by and

through its employee, agent and servant, Cindy Crum, failed to exercise ordinary care and

otherwise viol.ated its statutory and common law duties to plaintiffs as described herein, and its

negligence and its negligence per se was a substantial factor in causing decedent's fatal injuries

and plaintiffs damages.

        11   .   As a direct and proximate result of the negligent and careless conduct of the

United States of America, by and through its employee, agent and servant, Cindy Crum, Lila

Chidichimo suffered fatal injuries thereby depriving the Plaintiffs of the care, comforl, society

and support of the decedent.   Plaintiffs' damages exceed this court's jurisdictional requirements

and meet the threshold requirement of 28 U.S. Code $ 1332, necessary to bring this action for

wrongful death.

                                    PROCEDURAL HISTORY

        12.      On April 3,2017 . the plaintiffs filed their Standard Form 95 Claim for Damage

Injury, or Death, with both the National Tort Center of the United States Postal Service and the

Post Master,'United States Postal Service, 1376 Fillmore Ave., Twin Falls, Idaho 83301 pursuant
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to the provisions of the Federal Torts Claims Act,28 U.S.C., Sections 1346(b) and267l-2680.

The Law Department of the National Tort Center of the United States Postal Service

acknowledged receipt of the plaintiffs' claim on April 3,2017. Plaintiffs Standard Form 95

stated a claim for the following sums:

               Frank Chidichimo                  $342,000.00
               Mary Noel Little                  $342,000.00
               Mark Chidichimo                   $342,000.00
               WilliamChristopherChidichimo $342,000.00
               Kathleen Ann Touchette            $342,000.00
               Nancy Therese Middleton           $342,000.00
               Matthew Edward Chidichimo $342,000.00
               The Estate of Lila Mae Chidichimo $208,556.56


        13.    As of March 8, 2018. the Law Department of the National Tort Center of the

United States Postal Service had neither denied nor settled plaintilfs' claims. Filing of this suit is

therefore authorized pursuant of 28 U.S.C.$ 2675(a).

        14.    Plaintiffs have complied with all administrative requirements to assert this action,

and all administrative remedies have been exhausted.

        15.    In compliance with 28 U.S.C. Section 2401(b), plaintiffs bring their cause of

action herein against the United States of America within six (6) months of the appropriate

Federal agency's failure to deny or settle the   plaintiffs' claims.

        WHEREFORE, plaintiffs request judgment against the defendant. United States of

America, as follows:

        a)      Compensatory and general damages to fairly and reasonably compensate plaintiff

                Frank Chidichimo, for the wrongful death of his spouse, not to exceed

                $342,000.00;
                                                    6
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b)       Compensatory and general damages to fairly and reasonably compensate plaintiff

         Mary Noel Little for the wrongful death of her mother, not to exceed

         $342,000.00;

c)       Compensatory and general damages to fairly and reasonably compensate plaintiff

         Mark Chidichimo for the wrongful death of his mother, not to exceed

         $342,000.00;

d)       Compensatory and general damages to fairly and reasonably compensate plaintiff

         William Christopher Chidichimo for the wrongful death of his mother, not to

         exceed $342,000.00;

e)       Compensatory and general damages to fairly and reasonably compensate plaintiff

         Kathleen Ann Touchette for the wrongful death of her mother, not to exceed

         $342,000.00;

0        Compensatory and general damages to fairly and reasonably compensate plaintiff

         Nancy Therese Middleton for the death of her mother, not to exceed $342,000.00:

s)       Compensatory and general damages to fairly and reasonably compensate plaintiff

         Matthew Edward Chidichimo for the wrongful death of his mother, not to exceed

         $342,000.00;

h)       Compensatory to fairly and reasonably compensate plaintiff Estate of Lila Mae

         Chidichimo for medical, funeral and other expenses, not to exceed $208,556.56;

i)       General and compensatory damages includes, but is not limit to, loss of the care,

         comfort, society, advise, companionship and loving relationship of the decedent
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                  Lila Mae Chidichimo, in such sum      as is shown by the evidence to be   just and

                  reasonable;

         j)       For such other damages as may be suppofied by the allegations in this Complaint;

          k)      For costs and reasonable attorneys' fees; and

          1)      For such other damages as the Court may deem to be just and fair.

          WHEREFORE, the Plaintiffs demand that judgment be entered against Defendant

in an amount as supported by the allegations in this Complaint and the evidence adduced

at   trial, that the Plaintiffs be awarded the costs of suit incurred herein, and the Plaintiffs

be awarded such other costs and relief as the Courl may deem just and equitable.

          DATED this l2tr'day of March,2018,

                                                           Respectfully submitted,


                                                           /s/ Kevin D. Donohoe
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